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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF KENTUCKY

IN RE: ARVIN LEO WRIGHT DEBTOR

Case No. 17-32710

MOTION FOR RELIEF FROM AUTOMATIC STAY
AND ABANDOMMENT OF PROPERTY

Comes now, Independence Bank (the “Creditor”), by counsel, a secured creditor in the
above captioned proceeding, pursuant to 11 U.S.C.§ 362(d), and moves this court for an Order
terminating the stay of the hereinafter described real property to enable Creditor to recover and
dispose of its collateral, consisting of the following described as real estate located in Daviess
County, Kentucky, to wit:

4104 Mason Woods Lane

Building Site 4104, Section 1-D, Spring Bank Towne Houses, a plat of said building site
is of record in Plat Book 10, page 176, Office of the Daviess County Court Clerk, to
which reference is made for a more particular description. There is likewise included in
this conveyance an undivided interest in the Common Areas of the property as described
in the Master Deed and likewise, said Building Site carries with it and is part of this
conveyance all of the rights, privileges, appurtenances, duties, obligations, liabilities and
responsibilities as set forth in said Master Deed and Declaration of Covenants, Conditions
and Restrictions, and By-Laws of Spring Bank Towne House Residents Association, Inc.,
as recorded in Deed Book 494, at pages 230 and 251, Office of the Daviess County Court
Clerk.

AND BEING the same property conveyed to Leo Wright and Joyce Wright, his wife, and
the survivor of them, by deed from Ruth J. Lowe, single, dated April 18, 2002, and of
record in Deed Book 749, at page 898, Office of the Daviess County Court Clerk. Joyce
Wright died on November 14, 2015, thereby vesting sole ownership of the above-
described property in Leo Wight (a/k/a Arvin Leo Wright) by virtue of the survivorship
clause in said deed.
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Support for this motion is set forth in the following memorandum. Creditor further
requests that the stay remain terminated in the event the Debtors convert to a different chapter
under the Bankruptcy Code.

MEMORANDUM

1. The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334.
This is a core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion is
proper under 28 U.S.C. §§ 1408 and 1409.

2. On December 22, 2010, Leo Wright (a/k/a Arvin Leo Wright) (the “Debtor”) and
Joyce Wright, his wife, executed a promissory note in favor of Independence Bank of Kentucky
in the original principal amount of $141,800.00.

3. Said note was secured by the above-described real estate in Daviess County,
Kentucky. Creditor’s security interest in said real estate is evidenced in its Proof of Claim
attached hereto and filed herein identified as Claim No. 3.

4, Joyce Wright passed away on November 14, 2015.

5. Debtor is obligated to Independence Bank on said obligation in the amount of
$120,514.97 as of September 14, 2017, plus all accrued interest. The Debtor has not made the
required payments and the account is overdue and in default.

6. No other creditors have an interest in the above-described collateral.

7. Creditor moves to exercise its right to accelerate the balance due on this
obligation, sell the aforementioned collateral, and apply the net proceeds to the above-described

obligation.
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8. To the best of Movant’s knowledge and belief, the value of the real estate sued
upon is less than the amounts owed to Independence Bank. There is no equity in the collateral
for the unsecured creditors. In the event there is equity in said collateral, Movant would agree to
deposit any excess sales proceeds with the bankruptcy court for further distribution orders.

WHEREFORE, Independence Bank respectfully requests that this Court terminate the
stay as to the above-described real estate in all respects as against said Creditor; and that the
Trustee’s interest in the subject collateral be abandoned. Movant further requests that the stay
remain terminated in the event the Debtor converts to a different chapter under the Bankruptcy
Code.

If no response to this Motion for Relief from Automatic Stay and for Abandonment
of Property is filed within fifteen (15) days, the relief requested will be granted.

This the 13th day of November, 2017.

RESPECTFULLY SUBMITTED BY:

/s/Terra W. Knight

Terra W. Knight

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Attorney for Independence Bank
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing Motion was on November
13th, 2017, electronically filed pursuant to L.B.R. 6.8 (W.D. KY.) and mailed electronically
through the US Bankruptcy Court’s ECF system at the electronic addresses set forth in the ECF
system to all other parties receiving electronic notifications in this case including the Hon. Julie
Ann O’Bryan, Attorney for Debtor.

/s/Terra W. Knight

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